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                                                        Exhibit A to the Complaint
Location: Sachse, TX                                                                                     IP Address: 68.203.136.152
Total Works Infringed: 63                                                                                ISP: Time Warner Cable
 Work        Hash                                        Site                UTC             Published         CRO App. File   CRO Number
                                                                                                               Date
 1           1C8DF431BA4F95863FE4DE7C7530C9327392C74E    Vixen               01/10/2018      01/09/2018        01/18/2018      PA0002070945
                                                                             04:21:06
 2           02468FB5936B82D569B3718F48FF71EEBE6C9E14    Tushy               07/05/2017      07/05/2017        07/06/2017      PA0002041555
                                                                             23:22:47
 3           0326E8923C58852725F5A7857833A4CD3E715289    Tushy               05/07/2017      05/06/2017        06/16/2017      PA0002069288
                                                                             22:16:54
 4           04BA85D2C37FB4F265C09CB3DABC08898C5544DD    Tushy               09/30/2017      09/28/2017        10/10/2017      15894022733
                                                                             00:11:34
 5           061839DA517C8121C784459FF2EA40CF0AD2A220    Tushy               08/16/2017      05/31/2017        06/22/2017      PA0002039299
                                                                             00:06:18
 6           142D803F6D0A049D8976F7C3D6E808E1F7658942    Blacked Raw         12/23/2017      12/23/2017        01/18/2018      16200020025
                                                                             23:12:24
 7           1AAD40B9C28B70D2156BCD7912A2F284C11F634D    Vixen               08/17/2017      08/17/2017        08/24/2017      15894022586
                                                                             23:53:56
 8           2CB9141F13EA85096BC504ED39E5CBCD25983B19    Vixen               07/26/2017      07/23/2017        08/10/2017      PA0002046877
                                                                             02:28:01
 9           30345D06651108177F2FCFB7EAA6B92BE2D5BD56    Vixen               11/11/2017      11/10/2017        11/21/2017      16013343018
                                                                             00:06:32
 10          3899DF23466A4A4C58CA53479AE6CF8DD8BEF4C2    Tushy               12/28/2017      12/27/2017        01/18/2018      16215823711
                                                                             14:59:22
 11          3AF67ADE722E77AF5C23A9FB165F53CADB24E1AC    Blacked Raw         11/28/2017      11/28/2017        12/17/2017      16159649278
                                                                             23:44:39
 12          44F6C759F4752247486CF56C77F44FEA0E1065F2    Tushy               11/18/2017      11/17/2017        01/04/2018      PA0002069336
                                                                             00:53:50
 13          4621BB4A0025EC53A878119567D5F952DB339CE7    Blacked             05/27/2017      05/25/2017        06/22/2017      PA0002039290
                                                                             02:17:09
 14          4699FA70336C7253C0D4CA0E1942A84BDCBE2AE0    Vixen               09/09/2017      06/18/2017        07/07/2017      PA0002070833
                                                                             23:42:12
 15          48FACB22E186B79A3559DF1240089673767DFC3E    Tushy               12/19/2017      12/17/2017        01/18/2018      16215970342
                                                                             00:15:01
 16          49AC32A35FDA73ED25DC180D6DB00F409402501B    Tushy               11/08/2017      11/07/2017        11/15/2017      16013185672
                                                                             12:53:54
                     Case 3:18-cv-00621-D Document 1-1 Filed 03/15/18    Page 2 of 4 PageID 10
Work   Hash                                       Site          UTC          Published    CRO App. File   CRO Number
                                                                                          Date
17     4D82ADD27F7568F6D59A64F777E43A27BD64652E   Tushy         11/23/2017   11/22/2017   01/04/2018      PA0002069339
                                                                23:25:04
18     4F0D3D0FD3F88791F4933080453A052BE6924F22   Tushy         10/09/2017   10/08/2017   10/22/2017      PA0002058298
                                                                00:22:38
19     5C208E2ABF6083135CA52776A02D87442F215D60   Tushy         06/15/2017   06/15/2017   07/07/2017      PA0002070815
                                                                20:36:56
20     63DFE31973E8D9C33E4F6DC4A565B760E78B2463   Vixen         12/12/2017   12/10/2017   12/17/2017      16159649229
                                                                02:19:30
21     64683F0353A903719B39E742A35B975B17849BF7   Vixen         07/29/2017   07/28/2017   08/10/2017      PA0002046871
                                                                00:47:15
22     6C5115AFADCAA1FA67725BC6C2B0073CFA71E606   Tushy         08/15/2017   08/14/2017   08/17/2017      PA0002048391
                                                                02:55:43
23     733188B563BF15CED19162980E4D587EC3C32F1D   Vixen         01/07/2018   01/04/2018   01/18/2018      PA0002070947
                                                                18:50:34
24     739EB8A76A0350F7CA58F6464551E732BCED35C1   Blacked Raw   11/03/2017   11/03/2017   11/15/2017      16013254941
                                                                20:54:05
25     766E1C71FF552FF186850DD63CC9ECC58D923874   Tushy         09/19/2017   09/03/2017   09/10/2017      PA0002052851
                                                                01:58:34
26     774A2CED1D4C60BC032A3D8767D4CB89D2EE3DB4   Tushy         07/21/2017   07/20/2017   08/11/2017      PA0002046869
                                                                01:13:28
27     7B57FCC04E365EC8AFA37E1EEDD1AEC885BB92B3   Blacked       12/08/2017   12/06/2017   12/17/2017      16159688299
                                                                00:43:52
28     806EDC665F428C22EAF1354B760B5D6625944474   Vixen         12/31/2017   12/30/2017   01/18/2018      PA0002070944
                                                                00:24:46
29     807F407D94E9D91A368B24C5EEA7DBA5FF438450   Vixen         06/29/2017   06/28/2017   07/07/2017      PA0002070828
                                                                03:06:20
30     933264A7E1BE372770286D56E1E2640F4BE36D81   Tushy         12/23/2017   12/22/2017   01/18/2018      16215823592
                                                                16:38:05
31     9C80B087C925D30BA01F72FC0EAABD8EAADF588A   Blacked       08/19/2017   08/18/2017   08/24/2017      15894022488
                                                                20:10:49
32     9D1114F2ED6D94B73577B2D61F135B08A65E782D   Blacked       11/12/2017   11/11/2017   11/21/2017      16016503414
                                                                16:42:47
33     A5FA84BEBC5D2C5A5330581452C032D90577EDC1   Tushy         08/06/2017   08/04/2017   08/17/2017      PA0002077666
                                                                15:33:20
34     A66737A2C0C052A322F7121CB249A59EEBB0E177   Blacked       05/31/2017   05/30/2017   06/22/2017      PA0002039295
                                                                11:51:57
                     Case 3:18-cv-00621-D Document 1-1 Filed 03/15/18    Page 3 of 4 PageID 11
Work   Hash                                       Site          UTC          Published    CRO App. File   CRO Number
                                                                                          Date
35     A890E0D79F6C5499009A42180B4D452FB4B71CE7   Blacked Raw   01/01/2018   11/08/2017   11/21/2017      16013185382
                                                                17:06:32
36     AB6FFB0FD899B425F25C5D577CC4811AF5EC369B   Blacked       07/20/2017   07/19/2017   08/11/2017      PA0002046876
                                                                12:42:12
37     AFA4C44023577E2A90E1CFA8DB69A6F5D035B1D2   Blacked       09/09/2017   09/07/2017   09/14/2017      PA0002052840
                                                                01:55:19
38     B0FE13ECF5F84AEAC8C53B134AC336CFB843CF0D   Blacked       10/27/2017   10/27/2017   11/15/2017      16016503839
                                                                23:00:11
39     B219D12248F1CA666493E6415186170418E22D01   Vixen         12/24/2017   12/05/2017   12/17/2017      16159649863
                                                                18:40:47
40     B789ECCEE3E821C0279016D05F4C7C02E6A3A60F   Blacked Raw   11/14/2017   11/13/2017   11/21/2017      16020392832
                                                                01:17:18
41     B94B97749DBE7B9883FD15D44503A0EC8711AE6A   Vixen         08/10/2017   08/02/2017   08/17/2017      PA0002077667
                                                                00:10:29
42     BA56E328AE2DBA8A20B327451656293E37FDAE35   Blacked       11/25/2017   05/15/2017   06/22/2017      PA0002039283
                                                                18:21:22
43     C341AC19AAF42185652B5AD8AA85ADDC9ED72B2C Vixen           12/30/2017   12/25/2017   01/18/2018      16200019612
                                                                00:51:40
44     CA2A48ADA01E60840BAB8C6853A2B65A50C45806   Tushy         06/05/2017   06/05/2017   07/07/2017      PA0002074097
                                                                23:10:44
45     CA9C1A77C9BAC47BC3A59D3009DCAF3A444BBA43   Tushy         11/28/2017   11/27/2017   01/04/2018      PA0002069335
                                                                02:17:52
46     CB9ABC2B058CADE2FA7C0BD6A20558DC0E46EB0D   Blacked       06/20/2017   06/19/2017   07/07/2017      PA0002070823
                                                                00:24:00
47     CD6294A1E374A9314470B69751116A79B32C1E56   Blacked Raw   11/19/2017   11/18/2017   01/02/2018      PA0002068867
                                                                14:35:27
48     D426A2D6E52831784821746CD52676CA758A10BA   Tushy         12/08/2017   12/07/2017   12/17/2017      16159649536
                                                                00:34:07
49     D629C1BE08933BB60DF199F6F24E3812EA2C6C73   Blacked       10/13/2017   10/12/2017   10/22/2017      PA0002058296
                                                                00:47:45
50     D9F8CF8F73469DCA017F606B93D6B582BA9DD251   Tushy         10/28/2017   10/28/2017   11/15/2017      16013254281
                                                                18:36:05
51     DBAA02153CB1ACE3D2D3133FD8A00C6766453DA5   Blacked Raw   01/04/2018   01/02/2018   01/18/2018      16215824133
                                                                03:14:02
52     DD25D5793D9B4E6B233443D51BBBAB888FCC9FF8   Vixen         05/17/2017   05/09/2017   06/22/2017      PA0002039298
                                                                01:31:29
                      Case 3:18-cv-00621-D Document 1-1 Filed 03/15/18   Page 4 of 4 PageID 12
Work   Hash                                       Site         UTC           Published    CRO App. File   CRO Number
                                                                                          Date
53     E077B1FF542F9813257F25F80DF621F1EC832879   Vixen        09/06/2017    09/06/2017   09/14/2017      PA0002052844
                                                               23:35:51
54     E10259BB09AFE9410D944641E94048900ADEF0F2   Blacked      12/12/2017    12/11/2017   12/17/2017      16159650140
                                                               01:42:09
55     E2C91D686F1089A32122D60EE586BBD81B4FFDD0   Vixen        11/26/2017    11/25/2017   12/17/2017      16159428912
                                                               23:02:28
56     E2E738A023ED0C5032A028D5D3AC7DB55D80DDC7   Vixen        11/21/2017    11/20/2017   01/04/2018      PA0002069354
                                                               00:34:13
57     E46B81E1A71E3AC4E1FF3BC9B79FCF54E0D2AF00   Blacked      11/03/2017    11/01/2017   11/15/2017      16013342262
                                                               00:19:23
58     E594CCFA020A26AFC7C7138A58759BC81230676D   Vixen        08/09/2017    08/07/2017   08/17/2017      PA0002077669
                                                               01:15:51
59     EA5ED950235A748594878BB8534A2E15989E1120   Tushy        07/10/2017    07/10/2017   08/18/2017      PA0002077678
                                                               23:16:07
60     EA940B8AA781644B98523FD3D1B0B6809C9A5229   Blacked      11/22/2017    11/21/2017   01/04/2018      PA0002069353
                                                               13:16:28
61     EB7AE91B0DD3565F29908CB6FB8ED993D709A162   Blacked      07/15/2017    07/14/2017   08/11/2017      PA0002046878
                                                               00:11:48
62     F011B5C1E76C5CD712DADA5DF9CE66184EAA72B2   Blacked      10/25/2017    10/17/2017   11/15/2017      16013343097
                                                               01:44:25
63     F4B1214D5F997A14D4D5996E170CB5F3C2D0C597   Vixen        10/12/2017    10/11/2017   10/22/2017      15918925932
                                                               00:37:05
